CaSe 18-06095-|\/||\/|7 Filed 12/03/18 Entered 12/03/18 14206212 DOC 28 PQ. 1 Of 2

Fiil in this information to identify your case:

Debtor1 Catherine Denlse Humphery
First Name Middle Narne Last Name

 

Debtor 2
(Spouse if, Hling) First Name Midd|e Name Last Name

 

United States Banl<ruptcy Court for the: SOUTHERN D|STRICT OF CAL|FORN|A

 

Case number 18-06095
(if known) |:| Check if this is an
amended filing

 

 

 

Of'ficial Form 108
Statement of intention for individuals Fi|ing Under Chapter 7 ms

|f you are an individual filing under chapter 7, you must fill out this form ifr
l creditors have claims secured by your property, or

- you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting Of Cfedif°fs,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsible for supplying correct information B°fh debtors must
sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (lf known).

List Your Creditors Who Have Secured C|aims

 

 

 

1. For any creditors that you listed in Part 1 of Schedule D: Credltors Who Have Clalms Secured by Property (Offi¢iai Form 106D), fill in the
information beiow.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor‘s Mr. Cooper |:l Surrender the property. l No
name: l:l Retain the property and redeem it.
- Retain the property and enter into a m Ye$
D€SCriDiiOn Of 1360 Sutter Buttes Street Chuia Ream-,mat,-O,, Ag,eeme,,t_
property Vlsta, CA 91913 San Dlego g Retain the property and [exp,ain]:

securing debt: C°unty

 

 

 

 

Creditor‘s Reai Time Resoiutions, inc. E] Surrender the property. l No
name: L__l Retain the property and redeem it.

l Retain the roperty and enter into a m Yes
De$Cripinn Of 1360 Sutter Buttes Street Chula Reamnna;on Ag,e,eme,,tl
property Vlsta, cA 91913 San Dlego U Retain the propelty and [explain]:

securing debt: C°unty

 

 

 

 

List ¥our Unexpired Personai Property l
For any unexpired personal property lease that you listed in Scheduie G: Executory Contracts and Unexpired Leases (Officiai Form 1066),¢1||
in the information beiow. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended_
You may assume an unexpired personal property lease ifthe trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

Describe your unexpired personal property leases Wi|i the lease be assumed?

thciai Form 108 Statement of intention for individuals l-'iiing Under Chapter 7 page 1

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Debi0r1 Catherine Denise Humphery

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessors name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Sign Below

Case number (rfknown)

18-06095

l:l No
l:l Yes
l:l No
l:l Yes
l:l No
l:l Yes
l:l No
l:l Yes
l:l No
El Yes
|:\ No
l:l Yes

l:iNo

l:l Yes

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any personal

property yet r subject to an unex 'red lease.

lt//<%¢£z‘>{ §(/'M¢-

Catherine Denise Humpfhery
Signature of Debtor 1

nat /»2/;/?/»20“/5

X[‘/d

X

 

  

Signature of Debtor 2

Date

 

 

OfEcial Form 108

 

Statement of intention for individuals Filing Under Chapter 7

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